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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                          MISSOULA DIVISION


  ERIC J. GREEN,
                                                   CV 20-91-M-KLD
                      Plaintiff,

  vs.                                               ORDER

  ANDREW M. SAUL, Commissioner
  of Social Security Administration,

                      Defendant.


   Plaintiff Eric J. Green ("Green"), by and through his attorney, John E. Seidlitz,

Jr., moves under the Equal Access to Justice Act ("EAJA"), 28 U.S.C. §2412(d),

for attorney fees incurred in prosecuting his Social Security appeal. He requests

$5,776.28 in fees.

   Defendant Commissioner of Social Security ("Commissioner") does not object

to Green’s application for fees in this amount.

   THEREFORE, IT IS HEREBY ORDERED that Green’s Application for

Award of EAJA Fees is GRANTED. Defendant shall pay $5,776.28 in attorney

fees under the Equal Access to Justice Act, 28 U.S.C. §2412.

   IT IS FURTHER ORDERED that if, after receiving the Court’s EAJA fee

order, the Commissioner (1) determines upon effectuation of the Court’s EAJA fee
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order that Plaintiff does not owe a debt that is subject to offset under the Treasury

Offset Program, (2) agrees to waive the requirements of the Anti-Assignment Act,

and (3) is provided a valid assignment of fees executed by Plaintiff, the fees will be

made payable to Plaintiff’s attorney and mailed to Plaintiff’s attorney’s office as

follows:

               Seidlitz Law Office
               P.O. Box 1581
               Great Falls, MT 59403-1581

However, if there is a debt owned under the Treasury Offset Program, the

Commissioner cannot agree to waive the requirements of the Anti-Assignment Act,

and any remaining EAJA fees after offset will be paid by a check made out to

Plaintiff, but delivered to Plaintiff’s attorney.

               DATED this 7th day of June, 2021.



                                         Kathleen L. DeSoto
                                         U.S. Magistrate Judge
